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Case 4:21-cr-06028-MKD ECF No. 159

Vanessa R. Waldref

United States Attorney

Eastern District of Washington
Stephanie Van Marter

Assistant United States Attorney
Post Office Box 1494

Spokane, WA 99210-1494
Telephone: (509) 353-2767

filed 03/01/22 PagelD.887 Page 1 bf 5

Mar 01, 2022

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,
Plaintiff,

Vv.

JOSE MENDOZA-RUELAS,
OSCAR CHAVEZ-GARCIA,
JOEL CHAVEZ DURAN,

 

and IGNACIO GARAY ORNELAS
(a/k/a “Junior”’),

Defendants.

 

4:21-CR-6028-MKD

SECOND SUPERSEDING
INDICTMENT

Vios.: 21 U.S.C. §§ 841(a)(1), ¢ (by(1Y(A)
(ii), (vi), (viii), 846
Couspiracy to Distribute|5 0
Grams or More of Actual (Pure)
Methamphetamine, 400 Grams or
More of Fentanyl, and 5 ;
Kilograms or More of Cocaine
(Count 1) |

21 U.S.C. § 841(a)(1),

(b)(1)(A)witi) |

Distribution of 50 Grams or

More of Actual (Pure) |

Methamphetamine

(Counts 2 and 4)

21 U.S.C. § 841 (a)(1), (BC)
Distribution of Fentanyl |
(Count 3) :

SECOND SUPERSEDING INDICTMENT - 1 |
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CoN DN A HR WN KB TO HO WHA DA fF WY NY KF O&O

 

 

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21 U.S.C. § 841(a)(1),
(b)(DB)vi)
Distribution of 40 Grams or
More of Fentanyl
(Count 5)

21 U.S.C. § 841(a)(1),
(b)(1)(B)(vi), 18 U.S.C. § 2
|: Possession with the Intent to
Distribute 40 Grams or more of
Fentany!
(Count 6)

 

21 U.S.C. § 853
Forfeiture Allegations

 

The Grand Jury charges:
COUNT 1

Beginning on a date unknown, but by November 2019, and continuing until on or
about March 1, 2022, in the Eastern District of Washington and elsewhere, the
Defendants, JOSE MENDOZA-RUELAS, OSCAR CHAVEZ-GARCIA, JOE

 

 

ORNELAS (a/k/a “Junior”), and other individuals, both known and unknown to the
Grand Jury, did knowingly and intentionally combine, conspire, confederate, and agree
together with each other to commit the following offense: distribution of 50 grams or
more of actual (pure) methamphetamine, 400 grams or more of a mixture or substance
containing a detectable amount of N-phenyl-N-[1-(2-phenylethy])-4-piperidiny]]
propanamide (a/k/a Fentanyl), and 5 kilograms or more of a mixture or substance
containing a detectable amount of cocaine, all Schedule II controlled substances, in

violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A) Gi), (wi), and (viii), 846.

 

SECOND SUPERSEDING INDICTMENT — 2

 
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on HN tO BP WwW NF OO Oo wm HSH DH NN FP WY NY HF &S

 

 

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COUNT 2 .
On or about May 18, 2021, in the Eastern District of Washington, the D

of5

efendant,

JOSE MENDOZA-RUELAS, did knowingly and intentionally distribute 50 grams or

more of actual (pure) Methamphetamine, a Schedule II controlled substance, im

violation of 21 U.S.C. § 841(a)(1), (b)(1)(A)(viil).
COUNT 3
On or about May 18, 2021, in the Eastern District of Washington, the

Defendant, JOSE MENDOZA-RUELAS, knowingly and intentionally distributed a

mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide (a/k/a Fentanyl), a Schedule It controlled

substance, in violation of 21 U.S.C. § 841(a)(1), (b)A)(C).
COUNT 4

On or about June 8, 2021, in the Eastern District of Washington, the Defendant,
JOSE MENDOZA-RUELAS, did knowingly and intentionally distribute 50 grams or

}more of actual (pure) Methamphetamine, a Schedule II controlled substance, ip

violation of 21 U.S.C. § 841(a)(1), (b)(1)(A) (viii).
COUNT 5
On or about June 29, 2021, in the Eastern District of Washington, the
Defendant, JOSE MENDOZA-RUELAS, knowingly and intentionally distriby

40 grams or more of a mixture or substance containing a detectable amount off

phenyl-N-[1-(2-phenylethy!)-4-piperidinyl] propanamide (a/k/a Fentany!), a
Schedule II controlled substance, in violation of 21 U.S.C. § 841(a)()),
(b)1)(B)i).
. COUNT 6
On or about July 21, 2021, in the Eastern District of Washington, the
Defendant, JOEL CHAVEZ DURAN, knowingly and intentionally possessed)

intent to distribute 40 grams or more of a mixture or substance containing a

hted

with

 

SECOND SUPERSEDING INDICTMENT — 3

 
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detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide

(a/k/a Fentany!), a Schedule II controlled substance, in violation of 21 U.S.C.

§ 841(a)(1), (b)(1)(B)(vi), and 18 U.S.C. § 2.
NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS
The allegations contained in this Second Superseding Indictment are het

re-alleged and incorporated by reference for the purpose of alleging forfeitures.

eby

Pursuant to 21 U.S.C. § 853, upon conviction of an offense of violation of

21 U.S.C. § 841(a)(1), as charged in Counts 1 — 6 of this Second Superseding

Indictment, the Defendants, JOSE MENDOZA-RUELAS, OSCAR CHAVEZ:

GARCIA JOEL CHAVEZ DURAN,

 

IGNACIO GARAY ORNELAS (a/k/a Junior”), shal]

forfeit to the United States of America any property constituting, or derived from,
d.

0

any proceeds obtained, directly or indirectly, as the result of such offense(s) an

any property used or intended to be used, in any manner or part, to commit or 1

facilitate the commission of the offense(s). The property to be forfeited includes,

but is not limited to:
Defendant JOSE MENDOZA-RUELAS (Counts 1 — 5)

- A Sundance Industries .25 caliber Auto pistol, Model A-25, se
number: 097311

Defendant OSCAR CHAVEZ-GARCIA (Count 1)

- $161,669.00 U.S. currency;

~ $5,140.00 U.S. currency;

- aColt01070BSTS .45 caliber pistol, serial number: CV48283;

- aDTI-15, AR-15 Rifle, Caliber 5.56mm, serial number: DTI-
$159723; and

- an Arsenal AK-47 Rifle, Model: SAM7UF, serial number:
BA547063

rial

 

SECOND SUPERSEDING INDICTMENT — 4

 
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oN ND Nn FWY KK CO HO WDANI DN fF WN KF CO

 

 

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If any forfeitable property, as a result of any act or omission of the
Defendant(s):

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be divided

without difficulty,
the United States of America shall be entitled to forfeiture of substitute eae
pursuant to 21 U.S.C. § 853(p).

DATED: this_/ day of March 2022.

Vanessa R. Waldref
United States Attorney

Stephanie Van Marter
Assistant United States Attorney

SECOND SUPERSEDING INDICTMENT — 5
